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 Stephen K. Christiansen (6512)
 Randall S. Everett (18916)
 Joshua B. Cutler (16434)
 CHRISTIANSEN LAW, PLLC
 311 South State Street, Ste. 250
 Salt Lake City, Utah 84111
 Telephone: 801.716.7016
 Facsimile: 801.716.7017
 steve@skclawfirm.com
 randy@skclawfirm.com
 josh@skclawfirm.com

 Attorneys for Plaintiffs


                            IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH

   KATE GRANT and KARMANN KASTEN,
   LLC,                                                       PLAINTIFFS’ AMENDED
                                         Plaintiff,            RULE 7.1 DISCLOSURE

   vs.                                                   Civil No. 2:23-cv-00936-AMA-CMR
   KEVIN LONG; MILLCREEK
   COMMERCIAL PROPERTIES, LLC;                           District Judge Ann Marie McIff Allen
   COLLIERS INTERNATIONAL; BRENT
   SMITH; SPENCER TAYLOR; BLAKE                           Magistrate Judge Cecilia M. Romero
   MCDOUGAL; and MARY STREET,
                                       Defendants.


         Plaintiffs hereby make their amended disclosure under Fed. R. Civ. P. 7.1 and this

 Court’s docket text order #116 entered February 26, 2025.

         Plaintiff Kate Grant is a citizen of the State of Colorado. She is the sole member of

 plaintiff Karmann Kasten, LLC, a Colorado limited liability company.

         DATED this 26th day of February, 2025.

                                       CHRISTIANSEN LAW, PLLC

                                       By:           /s/ Stephen K. Christiansen
                                             Stephen K. Christiansen
                                             Joshua B. Cutler
                                             Randall S. Everett
                                             Attorneys for Plaintiffs
